                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF IOWA
                                   EASTERN DIVISION

LINDA OWEN and JEFFREY OWEN,                 )
                                             )       No. 6:17-cv-2058
               Plaintiffs,                   )
                                             )
vs.                                          )
                                             )
DAVID BROWN and J & L                        )       NOTICE OF REMOVAL
CONTRACTING, LLC,                            )
                                             )
               Defendants.                   )

       Defendants, David Brown and J & L Contracting, LLC, hereby give notice of the

removal of this action pursuant to 28 U.S.C. § 1441 et seq. and Local Rule 81. Removal is in

accordance with 28 U.S.C. § 1441 et seq. as this Court would have had diversity jurisdiction over

this action under 28 U.S.C. § 1332(a). In support of their Notice of Removal, Defendants state

as follows:

       1. Plaintiffs, Linda Owen and Jeffrey Owen, commenced a civil action on September 8,

2017, captioned Linda Owen and Jeffrey Owen, Plaintiffs, v. David Brown and J & L

Contracting, LLC, Defendants, in the Iowa District Court for Black Hawk County, Case No.

LACV133056 (the “State Court Action”). A copy of Plaintiffs’ Petition at Law and Jury

Demand, Original Notice, and Affidavit of Process Servicer (return of service on J & L

Contracting, LLC) are attached and constitute all process, pleadings, and orders filed in the State

Court Action and received to date by Defendants.

       2. Plaintiffs served Defendant J & L Contracting, LLC with copies of Plaintiffs’

Original Notice and Petition at Law and Jury Demand in the State Court Action by serving its

registered agent on September 20, 2017. Plaintiffs served Defendant David Brown on October 1,

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2017. In accordance with 28 U.S.C. § 1446(b), Defendants have timely filed this Notice of

Removal within 30 days of its receipt of Plaintiffs’ Petition.

       3. In the State Court Action, as set forth in the Petition, Plaintiffs claim that Linda Owen

sustained injuries in a car and semi-tractor trailer accident on or about September 10, 2015 in

Waterloo, Iowa. Plaintiffs seek compensatory damages for Defendants’ alleged negligence.

       4.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C. § 1332

for the reasons set forth below:

       a.      Complete diversity exists. The following statements were true on both the date

that Plaintiffs filed their Petition (September 8, 2017) and the date that Defendants filed their

Notice of Removal (October ___, 2017):

               i.      Plaintiffs, Linda Owen and Jeffrey Owen, are citizens of the State of Iowa.

               (Plaintiffs’ Petition at Law and Jury Demand, ¶¶ 1 and 2).

               ii.     Defendant, David Brown, is a resident of Halfway, Missouri and therefore,

               is a citizen of the State of Missouri.

               iii.    Defendant, J & L Contracting, LLC, is a limited liability company,

               consisting of two members, James Williams and Malona Williams, who are

               residents of Rogersville, Missouri and therefore, are citizens of the State of

               Missouri.

       b.      The amount in controversy exceeds $75,000.00.             Based on the content of

Plaintiffs’ Petition, Defendants believe in good faith that the amount in controversy exceeds

$75,000.00, exclusive of costs and interest.          Plaintiffs seek compensatory damages for

Defendants’ alleged negligence in causing the car and semi-tractor trailer accident.

Plaintiffs claim that Linda Owen was injured and have alleged numerous categories of past



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and future damages, including medical expenses, pain and suffering, mental anguish,

emotional distress and loss of function of body, lost earnings, loss of future earning

capacity and benefits, and loss of consortium. (Plaintiffs’ Petition, ¶¶ 17 and 20). Defendants

satisfy their burden to prove that the amount in controversy exceeds $75,000.00 even though an

amount of compensatory damages is not specified in Plaintiffs’ Petition. See Kaufman v. Costco

Wholesale Corp., 571 F.Supp.2d 1061, 1063 (D. Minn. 2008) (citing In re Minn. Mut. Life Ins.

Co. Sales Practices Litig., 346 F.3d 830, 834 (8th Cir. 2003) (Where the Plaintiff does not allege

a specific amount in the complaint, the removing party bears the burden of proving, by a

preponderance of the evidence, that the amount in controversy exceeds $75,000.00).

        The amount in controversy is measured by the “value to the plaintiff of the right sought to

be enforced.” Advance Am. Servicing of Ark. V. McGinnis, 526 F.3d 1170, 1173 (8th Cir. 2008).

See also Hatridge v. Aetna Cas. & Surety Co., 415 F.2d 809, 815 (8th Cir. 1969) (the amount in

controversy is the amount that the complainant seeks to recover or the sum that defendant will

lose if the complainant wins the suit). In other words, the amount in controversy is the amount

that Plaintiffs will seek from a jury.

        Plaintiffs will likely seek an amount greater than $75,000.00 in this case.         When

compiling Plaintiffs’ claims against Defendants, the amount in controversy exceeds $75,000.00.

        Defendants reserve the right to amend and/or supplement this Notice of Removal.

        WHEREFORE, the Defendants, David Brown and J & L Contracting, LLC, hereby

remove the State Court Action pending as Case No. LACV133056 in the Iowa District Court for

Black Hawk County to this Honorable Court.




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                                         LEDERER WESTON CRAIG PLC


                                         By: /s/ Kimberly K. Hardeman
                                             Kimberly K. Hardeman AT0003230
                                             118 Third Avenue SE, Suite 700
                                             P. O. Box 1927
                                             Cedar Rapids, IA 52406-1927
                                             Phone: (319) 365-1184
                                             Fax:    (319) 365-1186
                                             E-mail: khardeman@lwclawyers.com

                                         ATTORNEY FOR DEFENDANTS DAVID
                                         BROWN and J & L CONTRACTING, LLC

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies, under penalty of perjury that on the date indicated

below, a true copy of the foregoing instrument was served upon all parties in interest to the

above-entitled cause by enclosing the same in an envelope addressed to each party at each

party’s respective address by U. S. mail. The parties in interest referred to above are:

                              ATTORNEY FOR PLAINTIFFS
                              LINDA OWEN and JEFFREY OWEN:
                              Nicholas C. Rowley, Esq.
                              Dominic F. Pechota, Esq.
                              Trial Lawyers for Justice, P.C.
                              P.O. Box 228
                              Decorah, IA 52101

       Executed on October 10, 2017 in Cedar Rapids, Iowa.


                                                /s/ Kimberly K. Hardeman




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